19-01360-scc     Doc 9    Filed 10/31/19 Entered 10/31/19 22:53:49   Main Document
                                        Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                             Chapter 15


 PERFORADORA ORO NEGO, S DE R.L. DE                 Case No. 18-11094 (SCC)
 C.V., et al.                                       (Jointly Administered)


 Debtors in a Foreign Proceeding.


 FERNANDO PEREZ-CORREA IN HIS                       Adv. Pro. No. 19-01360 (SCC)
 CAPACITY AS FOREIGN REPRESENTATIVE
 OF PERFORADORA ORO NEGRO, S. DE R.L.
 DE C.V.; JOSE ANTONIO CAÑEDO-WHITE;
 CARLOS WILLIAMSON-NASI; GONZALO
 GIL-WHITE; AND MIGUEL ÁNGEL
 VILLEGAS-VARGAS

                            Plaintiffs,

                     - against –

 ASIA RESEARCH AND CAPITAL
 MANAGEMENT LTD.; GHL INVESTMENTS
 (EUROPE) LTD.; ORO NEGRO PRIMUS PTE.,
 LTD.; ORO NEGRO LAURUS PTE., LTD.; ORO
 NEGRO FORTIUS PTE., LTD.; ORO NEGRO
 DECUS PTE., LTD.; ORO NEGRO IMPETUS
 PTE., LTD.; SHIP FINANCE INTERNATIONAL
 LTD.; and DOES 1-100

                           Defendants.
19-01360-scc     Doc 9     Filed 10/31/19 Entered 10/31/19 22:53:49           Main Document
                                         Pg 2 of 2



                               CERTIFICATE OF SERVICE


              I, William A. Clareman, hereby affirm, under penalty of perjury, that copies of the

foregoing (1) Bondholders’ Notice and Motion to Dismiss the Complaint, and (2) Declaration of

William A. Clareman and accompanying Exhibits have been duly served this 31st day of October

2019, and were transmitted via the court’s CM-ECF system upon the following:


              Juan P. Morillo
              Quinn Emanuel Urquhart & Sullivan LLP
              1300 I Street NW, Suite 900
              Washington, D.C. 20005
              juanmorillo@quinnemanuel.com


              Counsel for the Plaintiffs




 Dated: October 31, 2019                             /s/ William A. Clareman
        New York, New York                         William A. Clareman
                                                   1285 Avenue of the Americas
                                                   New York, NY 10019
                                                   Telephone: (212) 373-3000
                                                   Facsimile: (212) 757-3990
                                                   wclareman@paulweiss.com




                                               2
